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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                           February 27, 2024
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 21-60626     Alliance for Fair Bd Recruitment v. SEC
                       Agency No. 34-92590

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk


                                  By: _________________________
                                  Majella A. Sutton, Deputy Clerk
                                  504-310-7680
Mr. Christopher Bates
Mr. Seth D. Berlin
Mr. Jonathan Berry
Ms. Elisabeth Catherine Butler
Mr. Jeffrey B. Dubner
Mr. Drew C. Ensign
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Mr. Kevin S. Schwartz
Mr. Pratik A. Shah
Mr. Steven Shepard
Mr. Aaron Michael Streett
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Mr. Amir Cameron Tayrani
Mr. Marc Wolinsky
Mr. John Yetter
Mr. John Zecca
